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 Daniel A. Veres
 Plantation, FL 33322
 September 17, 2023

 Dear Your Honor,

 I am writing to provide a character reference for my friend, Douglas Mackey, who is currently
 facing sentencing. I have known Doug for the past three years, and during this time, I have had
 the privilege of getting to know him as an individual of remarkable integrity and a deep
 commitment to the well-being of others.

 The first time I met Doug was at our church. I saw him there during service on a Saturday
 morning and we bumped into each other at the nearby coffee shop immediately after. From our
 initial interactions, it was clear to me that Doug is a person of unwavering honesty and a strong
 moral compass. He consistently goes above and beyond to help those in need, demonstrating
 his selflessness and dedication to making our community a better place.

 After that, we started meeting regularly for breakfast and coffee. He quickly became a great
 friend and someone I had enormous respect for. He volunteered his time and energy with a
 local organization that I started, which promotes the arts and cultural events for young
 professionals. Doug went above and beyond in volunteering his time and energy into making
 our events successful and getting new people involved.

 In the time I have known Doug, I have witnessed his genuine concern for the well-being of those
 around him. He is a man of strong moral character, a responsible and caring friend, and a
 valuable member of our community.

 It is with great confidence and without reservation that I provide this character reference for
 Doug. I firmly believe that his actions and demeanor reflect a person who is entirely trustworthy
 and who has the best interests of others at heart. I hope that you will consider this information
 when making your decision in his case.

 Thank you for your time and consideration.

 Sincerely,

 Daniel A. Veres
